       Case 1:17-cv-00129-SCY-KK Document 48 Filed 12/04/17 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

TERRENCE WILLIAMS, et al.,

       Plaintiffs,

v.
                                                    Case No. 1:17-CV-129 SCY/KK
THE UNITED STATES OF AMERICA,

       Defendant.


                             ORDER DISMISSING ALL CLAIMS

       In accordance with Fed. R. Civ. P. 58, and consistent with the Stipulation of Dismissal

(Doc. 47) wherein both parties agreed that this case should be dismissed with prejudice pursuant

to Fed. R. Civ. P. 41,

       IT IS HEREBY ORDERED that this matter is DISMISSED WITH PREJUDICE,

with each party to bear its own costs and expenses.




                                             UNITED STATES MAGISTRATE JUDGE




                                                1
